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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND


 UNITED STATES OF AMERICA

                 v.
                                                       CRIMINAL NO. 21-mj-00146-TMD
 CODY W.G. MOHR,

       Defendant.


                            MOTION TO DISMISS COMPLAINT

       Pursuant to Rule 48(a) of the Federal Rules of Criminal Procedure, and by leave of Court

endorsed hereon, the United States Attorney for the District of Maryland hereby moves to dismiss

with prejudice the Criminal Complaint pending against Defendant in the above-captioned case.

                                                 Jonathan F. Lenzner
                                                 Acting United States Attorney

                                                        /s/
                                     By          ________________________
                                                 P. Michael Cunningham
                                                 Assistant United States Attorney

Leave of Court is granted for the filing of the foregoing dismissal.


______________                                    ____________________________
Date                                              Honorable Thomas M. DiGirolamo
                                                  United States Magistrate Judge

Advice to U.S. Marshal:       _X      1. Defendant is not in custody.
   (Check one)                ___     2. Defendant is in custody and the USAO believes that:
                                       ___ a. there is no reason to hold Defendant further.
                                       ___ b. Defendant should be held in Federal custody
                                            (**explain below).
                                       ___ c. Defendant should be transferred to custody.
                                            (**explain below).
                              ___     3. Defendant is deceased.

**Explanation:
